                Case 22-10906-MFW         Doc 902       Filed 06/19/23    Page 1 of 3


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11

PHOENIX SERVICES TOPCO LLC, et al.,                       Case No. 22-10906 (MFW)

                                           Debtors.       (Jointly Administered)

              U.S. SPECIALTY INSURANCE COMPANY’S WITNESS & EXHIBIT
                          LIST FOR THE JUNE 21, 2023 HEARING

         U.S. Specialty Insurance Company, for itself and on behalf of its affiliated sureties

(collectively, “USSIC”), by and through undersigned counsel, hereby submits its Witness &

Exhibit List for the hearing to be held on June 21, 2023 at 10:30 a.m. (the “Hearing”) as follows:

                                          WITNESS LIST

         USSIC may call the following witness:

         1.      Frank M. Lanak, Executive Vice President, U.S. Specialty Insurance Company.
                 The witness will testify as to the facts set forth in the Lanak Declaration and
                 exhibits attached thereto;

         In addition to the above-listed witness, USSIC reserves the right to call the following

witnesses:

         1.      Any witness listed or called by any other party;

         2.      Rebuttal witnesses as necessary; and

         3.      USSIC reserves the right to cross-examine any witness called by any other party.

                                             EXHIBITS

              Exhibit                             Description
                1       Final Order (I) Authorizing the Debtors to Obtain Postpetition
                        Financing, (II) Authorizing the Debtors to Use Cash Collateral,
                        (III) Granting Liens and Providing Superpriority Administrative
                        Expense Claims, (IV) Granting Adequate Protection, (V)
                        Modifying the Automatic Stay, and (VI) Granting Related Relief
                        [Doc. No. 237]
                2       Objection of U.S. Specialty Insurance company to the Joint
                        Prepackaged Chapter 11 Plan of Reorganization of Phoenix
                        Services Topco, LLC and its Debtor Affiliates [Doc. No. 881]
             Case 22-10906-MFW          Doc 902     Filed 06/19/23    Page 2 of 3


          Exhibit                              Description
              3     Declaration of Frank M. Lanak In Support of the Objection of
                    U.S. Specialty Insurance company to the Joint Prepackaged
                    Chapter 11 Plan of Reorganization of Phoenix Services Topco,
                    LLC and its Debtor Affiliates [Doc. No. 881-1]
              4     Exhibits to the Declaration of Frank M. Lanak In Support of the
                    Objection of U.S. Specialty Insurance company to the Joint
                    Prepackaged Chapter 11 Plan of Reorganization of Phoenix
                    Services Topco, LLC and its Debtor Affiliates [Doc. No. 881-2]
              5     Amended Joint Chapter 11 Plan of Reorganization [Doc. No.
                    895]
              6     Notice of Filing of Second Plan Supplement [Doc. No. 897]
              7     Certification of Counsel In Support of U.S. Specialty Insurance
                    Company’s Objection to the Joint Prepackaged Chapter 11 Plan
                    of Reorganization of Phoenix Services Topco, LLC and its
                    Debtor Affiliates [Doc. No. 900]
              8     Supplemental Declaration of Frank M. Lanak In Support of U.S.
                    Specialty Insurance Company’s Objection to the Joint
                    Prepackaged Chapter 11 Plan of Reorganization of Phoenix
                    Services Topco, LLC and its Debtor Affiliates [Doc. No. 901]
              9     Exhibit to Supplemental Declaration of Frank M. Lanak In
                    Support of U.S. Specialty Insurance Company’s Objection to the
                    Joint Prepackaged Chapter 11 Plan of Reorganization of Phoenix
                    Services Topco, LLC and its Debtor Affiliates (Customs Entry
                    Summary) [Doc. No. 901-1]
             10     Proof of Claim No. 536 (Amended), Filed by U.S. Specialty
                    Insurance Company [Attached]
             --     Any exhibit necessary for purposes of impeachment and/or
                    rebuttal
             --     Any exhibit identified by any other party

                                RESERVATION OF RIGHTS

       USSIC reserves (a) the right to amend and/or supplement this Exhibit List at any time

prior to the Hearing, and (b) the right to use additional exhibits for purposes of rebuttal or

impeachment and to further supplement the foregoing Exhibit List as appropriate. USSIC also

reserves the right to rely upon and use as evidence (a) exhibits included on the Exhibit Lists of
             Case 22-10906-MFW         Doc 902     Filed 06/19/23    Page 3 of 3


any other parties in interest, and (b) any pleading, hearing transcript, or other document filed

with the Court in the above-captioned matter.


                                            McELROY, DEUTSCH, MULVANEY
                                            & CARPENTER, LLP

Dated: June 19, 2023                        /s/ Gaston P. Loomis
                                            Gary D. Bressler, Esq. (No. 5544)
                                            Gaston P. Loomis, Esq. (No. 4812)
                                            300 Delaware Avenue, Suite 1014
                                            Wilmington, DE 19801
                                            Telephone: 302-300-4515
                                            Facsimile: 302-645-4031
                                            E-mail: gbressler@mdmc-law.com
                                                    gloomis@mdmc-law.com

                                            Counsel to U.S. Specialty Insurance Company
